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                                 UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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                                      SAN FRANCISCO DIVISION
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     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
12   ANTITRUST LITIGATION
     ____________________________________            MDL No. 1917
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     This Document Relates To:                       THE EXPERT REPORT OF JEFFREY J.
14                                                   LEITZINGER, Ph.D.
     Crago, d/b/a Dash Computers, Inc., et al. v.
15   Mitsubishi Electric Corporation, et al., Case   Date: December 12, 2014
     No. 14-CV-2058 (SC).                            Time: 10:00 a.m.
16                                                   Judge: Hon. Samuel Conti
                                                     Ctrm: 1, 17th Floor
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19                                           November 6, 2014
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     THE EXPERT REPORT OF JEFFREY J. LEITZINGER, Ph.D. dated Nov. 6, 2014; Master File No. CV-07-5944-SC
